                                                                            The plea of guilty is accepted.
                                                                            The recommendations in the
                                                                            plea agreement are reserved
                            UNITED STATES DISTRICT COURT                     until the time of sentencing.
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA
                                                      No. 3:22-cr-00078
       V.                                             Judge Richardson

ROBIN SMITH

                                     PLEA AGREEMENT

       The United States of America, through Mark H. Wildasin, United States Attorney for the

Middle District of Tennessee, Assistant United States Attorney Amanda J. Klopf, Corey R.

Amundson, Chief of the Public Integrity Section of the U.S. Department of Justice, and John P.

Taddei, Trial Attorney (collectively, "United States" or "government"), and defendant, Robin

Smith, through defendant's counsel, W. David Bridgers and Ben M. Rose, pursuant to Rule

11(c)(1)(B) of the Federal Rules of Criminal Procedure, have entered into an agreement, the terms

and conditions of which are as follows:

                                     Charges in This Case

              Defendant acknowledges that she has been charged in the Information in this case

with one count of Honest Services Wire Fraud, in violation of Title 18, United States Code,

Sections 1343 and 1346, which carries the following maximum penalties: up to twenty years'

imprisonment; a term of supervised release of not more than three years; a fine not to exceed

$250,000; and a mandatory special assessment of $100.

       2.     Defendant has read the charge against her contained in the Information, and that

charge has been fully explained to her by her attorneys. Defendant fully understands the nature

and elements of the crime with which she has been charged.




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                           Charge to Which Defendant is Pleading Guilty

       3.      By this Plea Agreement, defendant agrees to enter a voluntary plea of guilty to

Count One of the Information, charging Honest Services Wire Fraud. In addition, as further

provided below, defendant agrees to the entry of a forfeiture judgment.

                   Acknowledgements and Waivers Regarding Plea of Guilty

                                    Nature of Plea Agreement

       4.      This Plea Agreement is entirely voluntary and represents the entire agreement

between the United States and defendant regarding defendant's criminal liability in case No. 3:22-

cr-00078.

       5.     Defendant understands that by pleading guilty she surrenders certain trial rights,

including the following:

              a.      If defendant persisted in a plea of not guilty to the charge against her, she

       would have the right to a public and speedy trial. Defendant has a right to a jury trial, and

       the trial would be by a judge rather than a jury only if defendant, the government, and the

       Court all agreed to have no jury.

              b.      If the trial were a jury trial, the jury would be composed of twelve

       laypersons selected at random. Defendant and her attorney would have a say in who the

       jurors would be by removing prospective jurors for cause, or without cause by exercising

       so-called peremptory challenges. The jury would have to agree unanimously before it could

       return a verdict of either guilty or not guilty. The jury would be instructed that defendant

       is presumed innocent; that the government bears the burden of proving defendant guilty of

       the charges beyond a reasonable doubt; and that it must consider each count of the

       indictment against defendant separately.




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               C.      If the trial were held by the judge without a jury, the judge would find the

       facts and determine, after hearing all the evidence, whether or not the judge was persuaded

       of defendant's guilt beyond a reasonable doubt.

               d.      At a trial, whether by a jury or a judge, the government would be required

       to present its witnesses and other evidence against defendant. Defendant would be able to

       confront those government witnesses and her attorney would be able to cross-examine

       them. In turn, defendant could present witnesses and other evidence on her own behalf. If

       the witnesses for defendant would not appear voluntarily, she could require their attendance

       through the subpoena power of the Court.

               e.      At a trial, defendant would have a privilege against self-incrimination so

       that she could testify or decline to testify, and no inference of guilt could be drawn from

       her refusal to testify.

       6.      Defendant understands that by pleading guilty she is waiving all of the trial rights

set forth in the prior paragraph. Defendant's attorney has explained those rights to her, and the

consequences of her waiver of those rights.

                                          Factual Basis

       7.      Defendant will plead guilty because she is in fact guilty of the charge contained in

Count One of the Information. In pleading guilty, defendant admits the following facts and that

those facts establish her guilt beyond a reasonable doubt:

               a.      Defendant ROBIN SMITH was a member of the Tennessee House of

       Representatives ("Tennessee House"), representing District 26, which included part of

       Hamilton County, Tennessee. SMITH was first elected to the Tennessee House in or

       around November 2018. SMITH also owned and operated a political consulting company




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   called Company 1. Company 1 provided political consulting, mail, and project

   management services.

           b.     Individual 1 was a member of the Tennessee House, first elected in 2003.

   Individual 1 served as Speaker of the Tennessee House from in or around January 2019

   until in or around August 2019. In or around August 2019, Individual 1 resigned as Speaker

   after a scandal became public. Individual 1 also owned and operated a political consulting

   company called Company 2. Individual 1 started Company 2 in or around October 2019 to

   provide fundraising services to Political Party 1 lawmakers.

          C.      Individual 2 was a businessman and former Chief of Staff to Individual 1

   when Individual 1 was Tennessee House Speaker. In 2019, multiple news forums published

   allegations that Individual 2 had committed inappropriate and illegal conduct. Based on

   public reporting, Individual 2 admitted certain allegations, and, on or about May 3, 2019,

   Individual 2 resigned his position as Chief of Staff.

          d.      The State of Tennessee ("the State") allocated Tennessee Representatives

   $3,000 annually to fund postage and printing of items to be sent to the legislators'

   constituents ("the Mailer Program"). According to Tennessee House guidelines,

   Representatives were permitted to use Mailer Program funds to design and mail "legislative

   update mailers" and legislative surveys to their constituents. Representatives were

   permitted to use campaign funds to offset additional expenses beyond the $3,000 allocated

   under the Mailer Program.

          C.      The Tennessee House Speaker's Office had the authority to approve or deny

   a vendor to provide services or any mailing funded by the Mailer Program.




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           f.      In or around November 2019, Individual 2 established Phoenix Solutions,

   LLC. Phoenix Solutions was established, with SMITH and Individual 1's knowledge and

   support, for the purpose of offering mail and consulting services for legislative members

   facing primary challengers, and was later expanded to offer constituent mail services to

   members of the Tennessee General Assembly. SMITH, Individual 1, and Individual 2 told

   others, including members of the Tennessee General Assembly and the House Speaker's

   Office, that Phoenix Solutions was run by an individual named "Matthew Phoenix."

   SMITH, Individual 1, and Individual 2 claimed that Matthew Phoenix was an experienced

   political consultant who had worked for Consulting Firm 1, a real company based in

   Washington, D.C. In truth and in fact, Individual 2 ran Phoenix Solutions and SMITH,

   Individual 1, and Individual 2 profited from it.

          g.      SMITH, Individual 1, and Individual 2 knew that Matthew Phoenix was a

   fictitious person and was, in truth and in fact, Individual 2.

          It.     SMITH, Individual 1, and Individual 2 concealed Individual 2's

   involvement in Phoenix Solutions from the State and members of the Tennessee General

   Assembly due to the expectation that Phoenix Solutions would not be approved by the

   Tennessee House Speaker's Office, acting on behalf of the State, or hired as a vendor by

   individual members if Individual 2's involvement was disclosed. SMITH, Individual 1,

   and Individual 2 also concealed the fact that Individual 2 kicked back a portion of the

   profits from the State and members of the Tennessee General Assembly to SMITH and

   Individual 1 due to the expectation that Phoenix Solutions would not be approved by the

   Tennessee House Speaker's Office, acting on behalf of the State, or hired as a vendor by




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   individual members if Individual 2's operational involvement and financial interests in the

   business and the kickbacks to SMITH and Individual 1 were disclosed.

                  SMITH and Individual I received kickbacks from Individual 2 in exchange

   for using their positions as members of the Tennessee House of Representatives to perform

   official acts, including pressuring the Tennessee House Speaker's Office to approve

   Phoenix Solutions as a Mailer Program vendor and disburse State funds to Phoenix

   Solutions.

           j.     Individual 2, with SMITH and Individual 1's knowledge and support, set

   up an email account for Matthew Phoenix, matthew@powerofphoenix.com, which

   Individual 2 used to conduct business on behalf of Phoenix Solutions.

           k.     Individual 2 incorporated Phoenix Solutions as a limited liability company

   (LLC) in New Mexico. Individual 2 set up a United States Postal Service post office box

   for Phoenix Solutions there and forwarded the mail received by that post office box to his

   home address in Nashville. Individual 2 later explained to SMITH that he established the

   post office box in New Mexico because that state allows the anonymous registration of

   LLCs.

           1.     In or around January 2020, SMITH was informed by an employee of the

   Tennessee House Speaker's Office that the Speaker's Office needed to work directly with

   the third-party vendor, which was a change in the existing guidelines employed by

   legislative members for constituent mail. SMITH informed Individual 2 of this fact.

   Individual 2 was notified that the State could not pay Phoenix Solutions without an Internal

   Revenue Service Form W-9 on file. In response, Individual 2, assuming the identity of

   Matthew Phoenix to disguise his true identity, sent a W-9 signed by "Matthew Phoenix"




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   from the matthew@powerofphoenix.com email address to the Tennessee House Majority

   Caucus Advisor for the purpose of filing it with the State.

          in.     On or about December 18, 2019, SMITH emailed Individual 2. Referencing

   a potential future conversation related to Phoenix Solutions with a Political Party 1

   employee regarding a campaign mailing list that each incumbent legislative member was

   to receive, SMITH told Individual 2 that he "may have to assume the role of Matthew

   again." Individual 2 replied to SMITH, "Matthew, reporting for d@!" and included a

   graphic interchange format (".gif') picture of a salute from Harrison Ford's character Han

   Solo in the movie Star Wars.

          n.      On or about January 24, 2020, SMITH emailed Individual 2, writing, "We'll

   start with this...Matthew...you might expect some type of call, email." Below, SMITH

   copied an email chain between SMITH, the Acting Chief of Staff to the House Speaker,

   and the General Assembly's Director of Legislation. In the email chain, SMITH asked the

   officials about the status of Mailer Program payments to Phoenix Solutions and why there

   was an issue with processing them. The Acting Chief of Staff wrote SMITH, "I'm on it."

   SMITH replied, "Don't crush her, but [the Director of Legislation has] been telling this

   vendor that the check's on the way for about two weeks." SMITH falsely added, "It's guys

   from [Consulting Firm 1] who did mail two years ago that left and started their own

   gig...tired of doing the DC/Trump stuff. Thanks." SMITH then forwarded the email chain

   to Individual 2, adding the message, "Shhhhhhhhhh."

          o.      Individual 3 was Individual 2's girlfriend. At times, Individual 3 assumed

   the fictitious role of "Candice," another alleged employee of Phoenix Solutions.




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             P.    On or about June 16, 2020, Individual 3 and Individual 2 emailed each other

    as "Candice" and "Matthew." The purpose of the email exchange was to falsely make it

    appear as if two employees of Phoenix Solutions were having an exchange about the need

   to secure payment on outstanding Mailer Program invoices that the State had not yet paid.

   Individual 2, using the matthew@powerofphoenix.com email account, then forwarded the

   exchange to SMITH.

             q.    On or about June 22, 2020, SMITH emailed the General Assembly's

   Director of Legislation, copying the Acting Chief of Staff to the House Speaker, to

   complain about delays in Mailer Program payments from the State to Phoenix Solutions.

   SMITH forwarded them the June 16, 2020, email exchange between "Candice" and

   "Matthew" complaining about the delayed payments. Above that email chain, SMITH

   wrote, "[Director of Legislation], I was cc' d on this last week.... It would be either illegal

   or unethical to move to print without knowing payment was coming, so the bulk permit

   number is provided on the invoice. Simpler, asking a firm to be liable for the cost with the

   printing completed before knowing payment may or may not be approved is suspect. Is

   there something going on?" Enclosed within SMITH's email were invoices from Phoenix

   Solutions for legislative mailers on behalf of two Representatives, for $4,547.50 and

   $5,537.

          r.      On or about May 20, 2020, SMITH discussed Phoenix Solutions with a

   member of the Tennessee House Political Party 1 caucus. SMITH described Phoenix

   Solutions as her preferred survey mailer company. SMITH falsely said that Phoenix

   Solutions was owned and operated by Matthew Phoenix, an experienced political

   consultant with whom SMITH did business when SMITH used Washington, D.C.-based




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   Consulting Firm 1 for political work. SMITH falsely said that Matthew Phoenix and his

   associate, Candice, got tired of living in the Washington D.C. area and decided to move

   back home to New Mexico, where Phoenix started Phoenix Solutions. SMITH falsely said

   that she used Phoenix Solutions because of the quality of its work.

          S.      On or about August 10, 2020, SMITH attended a meeting of the Political

   Party 1 House campaign committee. Present at the meeting were several Tennessee

   Representatives, officials from the Speaker's Office, and a committee consultant. SMITH

   repeated the same false statements regarding Phoenix Solutions that she had made to the

   caucus member on May 20, 2020. She also falsely told the committee members that she

   did not make any money from Phoenix Solutions.

          t.      On or about April 2, 2020, Individual 2 sent an email to SMITH and

   Individual 1. The email stated, "Friends, Here's our up-to-date printing spreadsheet. All of

   these checks have been collected and deposited. All bills related to these print jobs have

   also been paid. So, let me know what address is best for you and I will cut checks for each

   of you?" Individual 2 provided a breakdown of total profit earned from each client.

   SMITH, Individual 1, and Individual 2 shared the profits, with Individual 2 earning 30%.

   Individual 1 and SMITH each earned $4,143.64, which was 25% of the business, each.

   Individual 2 wrote that the remaining 20% of the profit was "left in business." Individual

   2 also discussed ways to cut Phoenix Solutions' future costs.

          U.      From on or about June 1, 2020, through on or about December 1, 2020,

   Phoenix Solutions took on more varied projects, but continued to receive payments from

   the State-funded Mailer Program and campaign accounts of members of the General

   Assembly. During that timeframe, a Phoenix Solutions bank account ending in x3886




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    received revenue of approximately $158,165, excluding payments from campaign accounts

    associated with SMITH and Individual 1. From on or about January 1, 2020, through on or

    about December 31, 2020, Phoenix Solutions, Company 1, and Company 2 received

    approximately $51,947 from the State in payments associated with the Mailer Program.

           V.        On or about September 10, 2020, SMITH endorsed and deposited check

    number 152, dated September 1, 2020, in the amount of $12,003.16, from Phoenix

    Solutions' account number x3886 into a bank account associated with her consulting firm,

    Company 1. Individual 2 signed the check in his given name and wrote "Consulting" on

    the memo line.

           W.        On or about December 17, 2020, SMITH endorsed and deposited check

    number 170, dated December 16, 2020, in the amount of $12,116.96, from Phoenix

    Solutions' account number x3886 into a bank account associated with Company 1.

    Individual 2 signed the check in his given name and wrote "Consulting" on the memo line.

           X.     The Speaker's Office would not have approved any constituent mail

    services performed by Phoenix Solutions if Individual 2's ownership of Phoenix Solutions

    had been disclosed because of Individual 2's history of misconduct as Chief of Staff to

    Individual 1. Further, multiple members of the General Assembly would not have hired

    Phoenix Solutions for Mailer Program or campaign work if they had known that Individual

    2 was involved in the operation of Phoenix Solutions and that SMITH, Individual 1, and

    Individual 2 were secretly profiting from Phoenix Solutions.

           Z.     SIVHTH, aided and abetted by others, including Individual 1 and Individual

    2, having devised and intended to devise the above-described scheme, and for the purpose




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       of executing the scheme, transmitted and caused to be transmitted by means of wire

       communication in interstate commerce, writings, signs, signals, pictures, and sounds.

       8.      This statement of facts is provided to assist the Court in determining whether a

factual basis exists for defendant's plea of guilty and criminal forfeiture and to assess relevant

conduct for purposes of the United States Sentencing Guidelines. The statement of facts does not

contain each and every fact known to defendant and to the United States concerning defendant's

and/or others' involvement in the offense conduct and other matters.

                               Sentencing Guidelines Calculations

       9.      The parties understand that the Court will take account of the United States

Sentencing Guidelines (hereinafter "U.S.S.G."), together with the other sentencing factors set forth

at 18 U.S.C. § 3553(a), and will consider the U.S.S.G. advisory sentencing range in imposing

defendant's sentence. The parties agree that the U.S.S.G. to be considered in this case are those

effective November 1, 2018.

       10.     For purposes of determining the U.S.S.G. advisory sentencing range, the United

States and defendant agree to recommend to the Court, pursuant to Rule I l (c)(1)(B), the following:

               a.     Offense Level Calculations.

                       i.     The base offense level for the count of conviction and relevant

               conduct is 14, pursuant to U.S.S.G. § 2C1.1(a)(1).

                       ii.    Assuming      defendant    clearly    demonstrates   acceptance    of

               responsibility, to the satisfaction of the government, through her allocution and

               subsequent conduct prior to the imposition of sentence, a 2-level reduction will be

               warranted, pursuant to U.S.S.G. § 3E1.1(a). If the offense level is 16 or greater,

               assuming defendant accepts responsibility as described in the previous sentence,




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            the United States will move for an additional one-level reduction pursuant to

            U.S.S.G § 3E1.1(b), because defendant will have given timely notice of her

            intention to enter a plea of guilty, thereby permitting the government to avoid

           preparing for trial and permitting the government and the Court to allocate their

           resources efficiently.

                   iii.   There are no further agreements as to the applicability of other

           sections and subsections of the U.S.S.G.

           b.      Criminal History Category.

                   i.     The parties have no agreement as to Defendant's criminal history.

           C.      Defendant is aware that any estimate of the offense level or guidelines range

    that defendant may have received from defendant's counsel, the United States, or the

    Probation Office is a prediction, not a promise, and is not binding on the Probation Office

    or the Court. Defendant understands that the Probation Office will conduct its own

    investigation and make its own recommendations, that the Court ultimately determines the

    facts and law relevant to sentencing, that the Court's determinations govern the final

    guidelines calculations, and that the Court determines both the final offense level and the

    final guidelines range. Defendant likewise understands that the guidelines range as

    ultimately determined by the Court prior to any downward departure (the "court-

    determined guidelines range") may be based on an offense level different from that agreed

    to above. Accordingly, the validity of this agreement is not contingent upon the Probation

    Officer's or the Court's concurrence with the above calculations. In the event that the

    Probation Office or the Court contemplates any U.S.S.G. adjustments, departures, or

    calculations different from those recommended above, the parties reserve the right to




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       answer any inquiries and to make all appropriate arguments concerning the same.

       Defendant further acknowledges that if the Court does not accept the guidelines

       calculations of the parties, defendant will have no right to withdraw her guilty plea.

                                            Cooperation

       11.     Defendant agrees to cooperate fully and truthfully with the United States and to

provide all information known to her regarding any criminal activity. In that regard:

               a.      Defendant agrees to respond truthfully and completely to any and all

       questions that may be put to her, whether in interviews, before a grand jury, or at any trial(s)

       or other court proceedings.

               b.      Defendant agrees to be reasonably available for debriefings and pre-trial

       conferences as the United States may require.

               C.     Defendant agrees to produce voluntarily any and all documents, records,

       writings, or materials of any kind in her possession or under her care, custody, or control

       relating directly or indirectly to all areas of inquiry and investigation.

               d.     Defendant consents to continuances of her sentencing hearing as requested

       by the United States.

       12.     Nothing in this Plea Agreement requires the government to accept any cooperation

or assistance that defendant may choose to proffer. The decision as to whether and how to use any

information and/or cooperation that defendant provides (if at all) is in the exclusive discretion of

the United States.

       13.     Defendant must at all times give complete, truthful, and accurate information and

testimony, and must not commit, or attempt to commit, any further crimes. Defendant understands

that if she falsely implicates an innocent person in the commission of a crime, or exaggerates the




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involvement of any person in the commission of a crime in order to appear cooperative, or if

defendant falsely minimizes the involvement of any person in the commission of a crime in order

to protect that person, then defendant will be in violation of the Plea Agreement. Should the United

States determine that defendant has failed to cooperate fully, has intentionally given false,

misleading, or incomplete information or testimony, has committed or attempted to commit any

further crimes, or has otherwise violated any provision of this Plea Agreement, the United States,

may in its discretion and as appropriate in light of particular circumstances: (1) prosecute defendant

for perjury, false declarations or statements, and obstruction of justice; (2) prosecute any other

crime alleged in the indictment that would have otherwise been dismissed at sentencing; (3) charge

defendant with other crimes; and (4) recommend a sentence up to the statutory maximum.

       14.     This Plea Agreement is not conditioned upon charges being brought against any

other individual. This Plea Agreement is not conditioned upon any outcome in any pending

investigation. This Plea Agreement is not conditioned upon any result in any future prosecution

that may occur because of defendant's cooperation. This Plea Agreement is conditioned upon

defendant providing full, complete, and truthful cooperation.

       15.     If the United States in its sole discretion determines that defendant has cooperated

fully, provided substantial assistance to law enforcement authorities, and otherwise complied with

the terms of this Plea Agreement, prior to sentencing the government shall file a motion pursuant

to U.S.S.G. § 5K1.1 with the Court setting forth the nature and extent of defendant's cooperation.

Defendant understands that at the time this Plea Agreement is entered, no one has promised that a

substantial assistance motion will be made on defendant's behalf.

       16.     The United States cannot, and does not, make any promise or representation as to

what sentence defendant will receive. The United States will inform the Probation Office and the




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Court of (a) this Plea Agreement; (b) the nature and extent of defendant's activities with respect

to this case and all other activities of defendant that the United States deems relevant to sentencing;

and (c) the nature and extent of defendant's cooperation.

                             Other Agreements Relating to Sentencing

       17.     If the government determines, in its sole discretion, that defendant has provided

substantial assistance to the government in the investigation and prosecution of another person

who has committed an offense, then the government shall move the Court to depart downward

from the court-determined guidelines range pursuant to U.S.S.G. § 5K1.1. In that case, the

government, in its sole discretion, also may recommend that the Court impose a particular sentence

or depart downward to a particular extent. Defendant understands that the decision whether, and

to what extent, to depart below the court-determined guidelines range rests solely with the Court.

       18.     Each party is free to recommend whatever sentence it feels is appropriate.

       19.     Defendant understands that if the government does not move the Court to depart

downward from the court-determined guidelines range pursuant to U.S.S.G. § 5K1.1, the Court

shall impose a sentence taking into consideration the court-determined guidelines range together

with other sentencing factors. Defendant may not withdraw her plea of guilty because the

government has determined not to make a motion pursuant to U.S.S.G. § 5Kl .l.

       20.     It is understood by the parties that the Court is neither a party to nor bound by this

Plea Agreement and, after consideration of the U.S.S.G., may impose the maximum penalties as

set forth above. Defendant further acknowledges that if the Court does not accept the sentencing

recommendation of the parties, defendant will have no right to withdraw her guilty plea. Similarly,

defendant understands that any recommendation by the Court related to location of imprisonment

is not binding on the Bureau of Prisons.




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        21.     Defendant agrees to pay the special assessment of $100 at the time of sentencing to

the Cleric of the U.S. District Court.

                                         Forfeiture of Property

        22.     The Information provided notice to Defendant of the United States' intent to seek

forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), of any property, real or

personal, which constitutes or is derived from proceeds traceable to the offense, including a money

judgment representing the value of such proceeds. By entry of a guilty plea to Count One of the

information, Defendant acknowledges that the property identified above is subject to forfeiture.

        23.     The United States will move for entry of a consent order of forfeiture consisting of

a money judgment in an amount to be determined prior to sentencing.

       24.     Any forfeiture payments made by any other defendant guilty of the same offense

shall be credited to Defendant's forfeiture liability and vice versa.

       25.     Defendant understands that forfeiture of this property shall not be treated as

satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the Court may

impose upon defendant in addition to the forfeiture judgment. Defendant acknowledges that the

ultimate discretion lies with the Money Laundering and Asset Recovery Section of the U.S.

Department of Justice regarding whether to grant or deny any request related to the remission or

restoration process.

       26.     Defendant further acknowledges that the United States is entitled to forfeiture of

substitute property in the amount of the aforementioned forfeitable property, and therefore, agrees

to the forfeiture of substitute assets, including forfeiture of any funds recovered via the Treasury

Offset Program, and entry of an order allowing the United States to conduct any discovery proper

in identifying, locating or disposing of the property subject to forfeiture, including depositions,




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interrogatories, requests for production of documents and the issuance of subpoenas, without

further application to the Court and to facilitate the identification and location of property declared

forfeited, substitute assets, and to facilitate the disposition of any petitions for remission,

mitigation or restoration.

       27.     Defendant further agrees to cooperate fully and to execute any supplementary

documents, including authorizing the United States to obtain Defendant's credit report, and to take

any additional actions that may be necessary or appropriate to effect this agreement as to forfeiture

and substitute assets.

       28.     Defendant further authorizes the United States Probation and Pretrial Services

Office (U.S.P.O.) to release the Presentence Investigative Report and all financial documents

pertaining to Defendant to the Asset Forfeiture Unit of the United States Attorney's Office ("AF

Unit") for the Middle District of Tennessee.

       29.     Defendant further authorizes the release to the AF Unit of his financial statement

submitted to the Court in her application for pro bono attorney.

       30.     Defendant further authorizes the Internal Revenue Service to Release her tax

returns for the years beginning 2020 through the pendency of the payment of the full amount of

the Order of Forfeiture.

       31.     Defendant and the United States agree that every effort will be made to credit any

payment toward forfeiture against both the Order of Forfeiture and any restitution order via the

remission and restoration process prescribed in 28 C.F.R. § 9 and 18 U.S.C. § 3664, respectively.

However, the parties acknowledge that the ultimate discretion lies with the Money Laundering and

Asset Recovery Section of the U.S. Department of Justice regarding whether to grant or deny any

request related to the remission or restoration.




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                   Presentence Investigation Report/Post-Sentence Supervision

        32.     Defendant understands that the United States, in its submission to the Probation

Office as part of the Pre-Sentence Report and at sentencing, shall fully apprise the District Court

and the United States Probation Office of the nature, scope, and extent of defendant's conduct

regarding the charges against her, as well as any related matters. The government will make known

all matters in aggravation and mitigation relevant to the issue of sentencing, including the nature

and extent of defendant's cooperation.

        33.    Defendant agrees to execute truthfully and completely a Financial Statement (with

supporting documentation) prior to sentencing, to be provided to and shared among the Court, the

United States Probation Office, and the United States regarding all details of her financial

circumstances, including her recent income tax returns as specified by the Probation Officer.

Defendant understands that providing false or incomplete information, or refusing to provide this

information, may be used as a basis for denial of a reduction for acceptance of responsibility

pursuant to U.S.S.G. § 3E1.1 and enhancement of her sentence for obstruction of justice under

U.S.S.G. § 3C1.1, and may be prosecuted as a violation of Title 18, United States Code, Section

1001, or as a contempt of the Court.

       34.     This Plea Agreement concerns criminal liability only. Except as expressly set forth

in this Plea Agreement, nothing herein shall constitute a limitation, waiver, or release by the United

States or any of its agencies of any administrative or judicial civil claim, demand, or cause of

action it may have against defendant or any other person or entity. The obligations of this Plea

Agreement are limited to the United States Attorney's Office for the Middle District of Tennessee

and the Public Integrity Section and cannot bind any other federal, state, or local prosecuting,

administrative, or regulatory authorities, except as expressly set forth in this Plea Agreement.




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        35.    Defendant understands that nothing in this Plea Agreement shall limit the Internal

Revenue Service (IRS) in its collection of any taxes, interest, or penalties from defendant and her

spouse or defendant's partnership or corporations.

                                        Entry of Guil . Plea

        36.    The parties jointly request that the Court accept the defendant's plea of guilty as set

forth in this agreement and enter an order reflecting the acceptance of the plea while reserving

acceptance of this plea agreement until receipt of the pre-sentence report and sentencing.

                                    Waiver of Appellate Rights

       37.     Regarding the issue of guilt, defendant hereby waives all (i) rights to appeal any

issue bearing on the determination of whether she is guilty of the crime to which she is agreeing

to plead guilty; and (ii) trial rights that might have been available if she exercised her right to go

to trial. Regarding sentencing, Defendant is aware that 18 U.S.C. § 3742 generally affords a

defendant the right to appeal the sentence imposed. Acknowledging this, defendant knowingly

waives the right to appeal any sentence within or below the Court-determined guidelines range.

Defendant also knowingly waives the right to challenge the sentence imposed in any motion

pursuant to 18 U.S.C. § 3582(c)(2) and in any collateral attack, including, but not limited to, a

motion brought pursuant to 28 U.S.C. § 2255 and/or § 2241. However, no waiver of the right to

appeal, or to challenge the adjudication of guilt or the sentence imposed in any collateral attack,

shall apply to a claim of involuntariness, prosecutorial misconduct, or ineffective assistance of

counsel. Likewise, the government waives the right to appeal any sentence: (i) within or above the

Court-determined guidelines range; or (ii) below such guideline range if the government has

moved for a downward departure pursuant to U.S.S.G. § 5K1.L




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                                            Other Terms

          38.   Defendant agrees to cooperate with the United States in collecting any unpaid fine

for which defendant is liable, including providing financial statements and supporting records as

requested by the government. Defendant further agrees that any monetary penalties imposed by

the Court will be subject to immediate enforcement as provided for in 18 U.S.C. § 3613, and

submitted to the Treasury Offset Programs so that any federal payment or transfer of returned

property the defendant receives may be offset and applied to federal debts but will not affect the

periodic payment schedule.

          39.   Defendant agrees to cooperate with the IRS in any tax examination or audit of

defendant and her husband and defendant's partnerships or corporations that directly or indirectly

relates to or arises out of the course of conduct defendant has acknowledged in this Plea

Agreement, by transmitting to the IRS original records or copies thereof, and any additional books

and records that the IRS may request. Nothing in this paragraph precludes defendant from asserting

any legal or factual defense to taxes, interest, and penalties that may be assessed by the IRS.

          40.   Should defendant engage in additional criminal activity after she has pled guilty

but prior to sentencing, defendant shall be considered to have breached this Plea Agreement, and

the government at its option may void this Plea Agreement.

                                            Conclusion

          41.   Defendant understands that the Information and this Plea Agreement have been or

will be filed with the Court, will become matters of public record, and may be disclosed to any

person.




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        42.     Defendant understands that her compliance with each part of this Plea Agreement

extends until such time as she is sentenced, and failure to abide by any term of the Plea Agreement

is a violation of the Plea Agreement. Defendant further understands that in the event she violates

this Plea Agreement, the government, at its option, may move to vacate the Plea Agreement,

rendering it null and void, and thereafter prosecute defendant not subject to any of the limits set

forth in this Plea Agreement, or may require defendant=s specific performance of this Plea

Agreement.

        43.    Defendant and her attorney acknowledge that no threats have been made to cause

defendant to plead guilty.

       44.     No promises, agreements, or conditions have been entered into other than those set

forth in this Plea Agreement, and none will be entered into unless memorialized in writing and

signed by all of the parties listed below.




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        45.    Defendant's Signature: I hereby agree that I have consulted with my attorney and

fully understand all rights with respect to the pending Information. Further, I fully understand all

rights with respect to the provisions of the Sentencing Guidelines that may apply in my case. I

have read this Plea Agreement and carefully reviewed every part of it with my attorney. I

understand this Plea Agreement, and I voluntarily agree to it.



        Date: ~ , $. U                                ~u
                                                     Robin Smith
                                                     Defendant


        46.    Defense Counsel Signature: We are counsel for defendant in this case. We have

fully explained to defendant her rights with respect to the pending Information. Further, we have

reviewed the provisions of the Sentencing Guidelines and Policy Statements, and we have fully

explained to defendant the provisions of those guidelines that may apply in this case. We have

reviewed carefully every part of this Plea Agreement with defendant. To our knowledge,

defendant's decision to enter into this Plea Agreement is an informed and voluntary one.




Date:    7 ~~ 1 7
                                                     W. David Bridgers




Date: ~3            2
                                                     Benr . Rose




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                                Respectfully submitted,

                                MARK H. WILDASIN
                                United States Attorney

                                By:




                                       /s/ Ben Schrader
                                       BEN SCHRADER
                                       Acting Deputy Chief, Organized Crime Unit


                                COREY R. AMUNDSON
                                Chief, Public Integrity Section

                                By:

                                          L - Vall
                                       JV4 P. TADDEI
                                       Tri 1 Attorney




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